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1                                                                  The Honorable John C. Coughenour
                                                                    United States District Court Judge
2                                                                   The Honorable Mary Alice Theiler
                                                                       United States Magistrate Judge
3

4

5

6                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
7                                        AT SEATTLE

8    RODNEY WHEELER,

9                                               Plaintiff,       No. 2:19-cv-01410-JCC-MAT

10                  vs.
                                                                 KING COUNTY’S ANSWER TO
11   ELEANOR BROGGI, MATTHEW OLMSTEAD;                           PLAINTIFF’S COMPLAINT FOR
     and KING COUNTY,                                            DAMAGES AND COUNTERCLAIM
12                                                               AND JURY DEMAND
                                             Defendants.
13

14          Defendants Eleanor Broggi, Matthew Olmstead and King County (“Defendants”), in

15   answer to Plaintiff’s complaint, admit, deny and allege as follows:

16                                  I.      NATURE OF THE CASE

17          1.1.    In answering paragraph 1.1 of Plaintiff’s complaint, Defendants deny that

18   Defendants Eleanor Broggi and Matthew Olmstead caused Plaintiff to be arrested and charged

19   without probable cause. Defendants deny that Defendants made materially false statements in

20   affidavits for search warrants for Plaintiff’s cell phone records. Defendants deny that they made

21   false statements or omitted facts that would have undermined the allegations against Plaintiff.

22   Defendants deny that they ignored evidence and withheld exculpatory evidence. Defendants

23   admit that Plaintiff spent more than two years in pretrial detention before he was acquitted.

     KING COUNTY DEFENDANTS’ ANSWER TO COMPLAINT                           Daniel T. Satterberg, Prosecuting Attorney
                                                                           CIVIL DIVISION, Litigation Section
     FOR DAMAGES AND COUNTERCLAIM - 1
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1    Defendants are without sufficient information to determine the truth or falsity of the remaining

2    allegations contained therein, and, therefore, deny the same. Any other or different allegations

3    are denied.

4                                             II.     PARTIES

5           2.1.    In answering paragraph 2.1 of Plaintiff’s complaint, Defendants are without

6    sufficient information to determine the truth or falsity of the allegations contained therein, and,

7    therefore, deny the same.

8           2.2.    In answering paragraph 2.2 of Plaintiff’s complaint, Defendants admit.

9           2.3.    In answering paragraph 2.3 of Plaintiff’s complaint, Defendants admit that

10   Matthew Olmstead was at all times relevant to this action a King County Sheriff’s Detective,

11   acting within the scope of his employment as an agent of King County and under color of state

12   law. As to J. Does 1-4, King County defendants have no obligation to answer allegations

13   pertaining to John or Jane Does.

14          2.4.    In answering paragraph 2.4 of Plaintiff’s complaint, Defendants admit only that

15   King County is a home rule charter county and a political subdivision of the State of

16   Washington.

17                                III.      JURISDICTION AND VENUE

18          3.1.    In answering paragraph 3.1 of Plaintiff’s complaint, Defendants leave the issue of

19   jurisdiction and venue to the court.

20          3.2.    In answering paragraph 3.2 of Plaintiff’s complaint, Defendants leave the issue of

21   jurisdiction and venue to the court.

22          3.3.    In answering paragraph 3.3 of Plaintiff’s complaint, Defendants admit.

23

     KING COUNTY DEFENDANTS’ ANSWER TO COMPLAINT                          Daniel T. Satterberg, Prosecuting Attorney
                                                                          CIVIL DIVISION, Litigation Section
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1                                  IV.     FACTUAL ALLEGATIONS

2           4.1.    In answering paragraph 4.1 of Plaintiff’s complaint, Defendants admit that on

3    August 31, 2016, a man named Justin Love was shot and killed following an argument outside

4    the Motel 6 located at 18900 47th Avenue South in Sea-Tac, Washington. A stray bullet from the

5    shooting also hit and wounded another guest who was inside the hotel. Defendants are without

6    sufficient information with respect to Justin Love’s ethnicity.

7           4.2.    In answering paragraph 4.2 of Plaintiff’s complaint, Defendants admit that the

8    shooting occurred at or about 9:55 p.m.

9           4.3.    In answering paragraph 4.3 of Plaintiff’s complaint, Defendants admit that the

10   suspected shooter and Love were on opposite sides of a fence that divides the Motel 6 parking lot

11   from South 189th Street; at the time he was shot, Love was near the fence from inside the

12   parking lot and the shooter was on the other side. Defendants are without sufficient information

13   as to whether Love was climbing the fence at the time he was shot, and thereby deny the same.

14          4.4.    In answering paragraph 4.4 of Plaintiff’s complaint, Defendants admit that three

15   eyewitnesses gave detailed statements to the police: Michael Meyer and William Newell (two of

16   Love’s friends), and Brian Falgout, an uninvolved witness parked nearby. Defendants deny that

17   the three eyewitnesses were in close proximity to the suspected shooter.

18          4.5.    In answering paragraph 4.4 of Plaintiff’s complaint, Defendants deny.

19          4.6.    In answering paragraph 4.6 of Plaintiff’s complaint, Defendants admit that

20   Meyer, who was climbing the fence next to Love when Love was shot, spoke to one of the first

21   officers to respond to the scene and gave a description of the shooter. Defendants deny that the

22   description alleged by Plaintiff is the complete description.

23

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                                                                       CIVIL DIVISION, Litigation Section
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1           4.7.    In answering paragraph 4.7 of Plaintiff’s complaint, Defendants admit that in a

2    recorded statement taken less than two hours after the shooting, Meyer gave a description of the

3    suspected shooter. Defendants deny the description alleged by Plaintiff is the complete

4    description.

5           4.8.    In answering paragraph 4.8 of Plaintiff’s complaint, Defendants admit that

6    Newell, who was also near Love at the fence, gave a description of the suspected shooter in a

7    recorded statement taken after the shooting. Defendants deny the description alleged by Plaintiff

8    is the complete description.

9           4.9.    In answering paragraph 4.9 of Plaintiff’s complaint, Defendants admit that

10   Newell gave a description of the suspected shooter. Defendants deny the description alleged by

11   Plaintiff is the complete description.

12          4.10.   In answering paragraph 4.10 of Plaintiff’s complaint, Defendants admit that

13   Newell told police he had seen the suspect at the Motel 6 numerous times jumping the fence.

14   Defendants are without sufficient information to determine the truth or falsity of additional

15   allegations contained therein, and, therefore, deny the same.

16          4.11.   In answering paragraph 4.11 of Plaintiff’s complaint, Defendants admit that at

17   approximately 10:33 p.m., Falgout called 911 and reported seeing someone wearing a black

18   hoodie at a blue apartment complex near the scene of the shooting. Defendants deny that the

19   statements alleged by Plaintiff are the complete statements made by Falgout to the 911 operator.

20          4.12.   In answering paragraph 4.12 of Plaintiff’s complaint, Defendants admit that in a

21   written statement taken by the police at 11:30 p.m. on August 31, 2016, Falgout stated that the

22   shooter was wearing “all dark clothes” and drove away in “a small black car.” Defendants deny

23   that the statements alleged by Plaintiff are his complete written statement.

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                                                                         CIVIL DIVISION, Litigation Section
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1           4.13.   In answering paragraph 4.13 of Plaintiff’s complaint, Defendants admit that in a

2    follow-up interview on September 16, 2016, Falgout stated that he “thought” the suspected

3    shooter was wearing “a black hoodie,” although the suspected shooter was standing in the dark.

4    Falgout stated “I don’t know for sure.” Falgout stated he thought the suspected shooter drove

5    away in a “little black car.” Defendants deny any remaining allegations.

6           4.14.   In answering paragraph 4.14 of Plaintiff’s complaint, Defendants admit that

7    Newell described the shooter as wearing a brown backpack. Defendants are without sufficient

8    information to determine the truth or falsity of the remaining allegations as to contained therein

9    as to other witnesses, and therefore, deny the same.

10          4.15.   In answering paragraph 4.15 of Plaintiff’s complaint, Defendants deny that

11   Wheeler did not match the descriptions of the shooter. Defendants admit that Plaintiff was seen

12   on surveillance video passing near the scene of the shooting immediately before the shooting.

13   Defendants deny that Plaintiff was seen on surveillance video passing near the scene of the

14   shooting before the altercation. Defendants admit only that Plaintiff was wearing jeans, a

15   hoodie, a baseball cap. Defendants are without sufficient information to determine the truth or

16   falsity of the allegations regarding the colors of Plaintiff’s clothing, his hairstyle and whether

17   Plaintiff was driving a black car and therefore, deny the same and any remaining factual

18   allegations.

19          4.16.   In answering paragraph 4.16 of Plaintiff’s complaint, Defendants admit that

20   surveillance video shows Plaintiff exiting the motel and walking towards a fence at the edge of

21   the property. Defendants are without sufficient information to determine the truth or falsity of

22   the allegations contained therein regarding Plaintiff’s emotional state at the time, and therefore,

23   deny the same. Defendants deny that Plaintiff was gone before the altercation that led to the

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1    shooting began. Defendants admit Newell and Love are shown on surveillance video coming out

2    of their motel room. Defendants are without sufficient information to determine the truth or

3    falsity of the remaining allegations contained therein, and, therefore, deny the same.

4           4.17.   In answering paragraph 4.17 of Plaintiff’s complaint, Defendants are without

5    sufficient information to determine the truth or falsity of the allegations contained therein, and,

6    therefore, deny the same.

7           4.18.   In answering paragraph 4.18 of Plaintiff’s complaint, Defendants are without

8    sufficient information to determine the truth or falsity of the allegations contained therein, and,

9    therefore, deny the same.

10          4.19.   In answering paragraph 4.19 of Plaintiff’s complaint, Defendants admit that

11   Detective Eleanor Broggi was assigned to the investigation of the Motel 6 homicide as lead

12   investigator. Defendants admit that Detective Matthew Olmstead assisted in the investigation.

13   To the extent that additional factual allegations are intended, they are hereby denied.

14          4.20.   In answering paragraph 4.20 of Plaintiff’s complaint, Defendants admit on

15   September 6 and 7, 2016, Detective Broggi sent witness Newell emails with photos of black men

16   taken from the Motel 6 surveillance video. Defendants are without sufficient information to

17   determine the truth or falsity of the remaining allegations, and, therefore, deny the same.

18          4.21.   In answering paragraph 4.21 of Plaintiff’s complaint, Defendants deny the photos

19   were of poor quality and highly suggestive. Defendants admit that photos sent on September 7,

20   2016 were of the Plaintiff, and they displayed a date and timestamp showing him in the motel

21   shortly before the murder.

22          4.22.   In answering paragraph 4.22 of Plaintiff’s complaint, Defendants admit that

23   Plaintiff was the only man shown in the photos with a backpack and Detective Broggi sent the

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1    photos only to Newell, the only witness who claimed to have seen a brown backpack.

2    Defendants deny the remaining allegations.

3           4.23.   In answering paragraph 4.23 of Plaintiff’s complaint, Defendants are without

4    sufficient information to determine the truth or falsity of the remaining allegations contained

5    therein, and, therefore, deny the same.

6           4.24.   In answering paragraph 4.24 of Plaintiff’s complaint, Defendants are without

7    sufficient information to determine the truth or falsity of the remaining allegations contained

8    therein, and, therefore, deny the same.

9           4.25.   In answering paragraph 4.25 of Plaintiff’s complaint, Defendants deny.

10          4.26.    In answering paragraph 4.26 of Plaintiff’s complaint, Defendants admit that in an

11   email written on September 9 from Detective Broggi to Sgt. Ryan Abbott, she wrote that an

12   unidentified individual was “our shooter but no pc yet,” and wrote that “Once identified I need to

13   do a montage.” Defendants deny any remaining allegations.

14          4.27.   In answering paragraph 4.27 of Plaintiff’s complaint, Defendants admit that on

15   September 15, Detective Broggi traveled to Oregon to meet with Newell and Meyer and conduct

16   a photo montage with each of them separately. Defendants admit that the montage photo of

17   Wheeler did not show him wearing a backpack. Defendants deny any remaining allegations.

18          4.28.   In answering paragraph 4.28 of Plaintiff’s complaint, Defendants admit that on

19   September 15, Detective Broggi sent a copy of a photograph of a person, later identified as

20   Plaintiff, to the prosecutor with the message: “This is going to be our shooter.” Defendants deny

21   any remaining allegations.

22

23

     KING COUNTY DEFENDANTS’ ANSWER TO COMPLAINT                         Daniel T. Satterberg, Prosecuting Attorney
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1           4.29.   In answering paragraph 4.29 of Plaintiff’s complaint, Defendants admit that on

2    September 15, neither Newell nor Meyer picked Plaintiff from the montage. Defendants deny

3    the remaining allegations.

4           4.30.   In answering paragraph 4.30 of Plaintiff’s complaint, Defendants deny.

5           4.31.   In answering paragraph 4.31 of Plaintiff’s complaint, Defendants are without

6    sufficient information to determine the truth or falsity of the remaining allegations contained

7    therein, and, therefore, deny the same.

8           4.32.   In answering paragraph 4.32 of Plaintiff’s complaint, Defendants admit.

9           4.33.   In answering paragraph 4.33 of Plaintiff’s complaint, Defendants deny.

10          4.34.   In answering paragraph 4.34 of Plaintiff’s complaint, Defendants are without

11   sufficient information to determine the truth or falsity of the remaining allegations contained

12   therein, and, therefore, deny the same.

13          4.35.   In answering paragraph 4.35 of Plaintiff’s complaint, Defendants admit in the

14   warrant affidavit, Detective Olmstead wrote that “Newell advised that he had seen the same

15   black male roughly 20 times during the preceding weeks that he had been staying at the motel.”

16   Defendants deny the remainder of this paragraph.

17          4.36.   In answering paragraph 4.36 of Plaintiff’s complaint, Defendants admit in the

18   warrant affidavit, Detective Olmstead stated that “Police received reports from witnesses that the

19   suspect then fled the area, possibly in a vehicle.” Defendants deny the remainder of the

20   paragraph.

21          4.37.   In answering paragraph 4.37 of Plaintiff’s complaint, Defendants admit in the

22   warrant affidavit, Detective Olmstead stated that the surveillance video of a “possible suspect”

23   “matched the description provided by Newell.” Defendants deny the remainder of the paragraph.

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1           4.38.   In answering paragraph 4.38 of Plaintiff’s complaint, Defendants deny.

2           4.39.   In answering paragraph 4.39 of Plaintiff’s complaint, Defendants admit in the

3    warrant affidavit, Detective Olmstead stated that “[s]till photographs of the video depicting the

4    possible suspect were shown to Meyer and Newell separately. Both agreed that the still

5    photographs appeared to be the same person who shot Love.” Defendants admit the statement

6    pertaining to Meyer was in error, because Meyer was not shown the photographs. Defendants

7    deny the remainder of the paragraph.

8           4.40.   In answering paragraph 4.40 of Plaintiff’s complaint, Defendants admit that the

9    affidavit omitted the fact that neither Newell nor Meyer identified Plaintiff from a photographic

10   montage. Defendants deny this omission was false and misleading. To the extent additional

11   factual allegations are intended or legal conclusions contrary to applicable law are alleged, they

12   are hereby denied.

13          4.41.    In answering paragraph 4.41 of Plaintiff’s complaint, Defendants admit the

14   warrant affidavit says that Daniela Cuadra and Abelina Kidane reported that the Plaintiff called

15   them about 20 minutes after the shooting, “Wheeler called to inquire how [Cuadra] was doing

16   and asked numerous questions about the happenings at the Motel 6. Cuadra thought it strange”

17   and that “Wheeler continued to call Cuadra, encouraging her to leave the motel and asked a lot of

18   further questions regarding police activity.” Defendants deny the remainder of the paragraph.

19          4.42.   In answering paragraph 4.42 of Plaintiff’s complaint, Defendants make no

20   response as the allegations appear to contain only legal conclusions for which no response is

21   required. However, to the extent factual allegations are intended or legal conclusions contrary to

22   applicable law are alleged, they are hereby denied.

23          4.43.   In answering paragraph 4.43 of Plaintiff’s complaint, Defendants deny.

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1           4.44.   In answering paragraph 4.44 of Plaintiff’s complaint, Defendants are without

2    sufficient information to determine the truth or falsity of the remaining allegations contained

3    therein, and, therefore, deny the same.

4           4.45.   In answering paragraph 4.45 of Plaintiff’s complaint, Defendants admit.

5           4.46.   In answering paragraph 4.46 of Plaintiff’s complaint, Defendants deny.

6           4.47.   In answering paragraph 4.47 of Plaintiff’s complaint, Defendants admit.

7           4.48.   In answering paragraph 4.48 of Plaintiff’s complaint, Defendants make no

8    response as the allegations appear to contain only legal conclusions for which no response is

9    required. However, to the extent factual allegations are intended or legal conclusions contrary to

10   applicable law are alleged, they are hereby denied.

11          4.49.   In answering paragraph 4.49 of Plaintiff’s complaint, Defendants admit the

12   warrant affidavit stated, “Newell advised that he had seen the same black male roughly 20 times

13   during the preceding weeks that he had been staying at the motel.” Defendants make no

14   response to the remainder of the paragraph as the allegations appear to contain only legal

15   conclusions for which no response is required. However, to the extent factual allegations are

16   intended or legal conclusions contrary to applicable law are alleged, they are hereby denied.

17          4.50.   In answering paragraph 4.50 of Plaintiff’s complaint, Defendants admit in the

18   warrant affidavit, Detective Olmstead stated that “Police received reports from witnesses that the

19   suspect fled the area, possibly in a vehicle.” Defendants make no response to the remainder of

20   the paragraph as the allegations appear to contain only legal conclusions for which no response is

21   required. However, to the extent factual allegations are intended or legal conclusions contrary to

22   applicable law are alleged, they are hereby denied.

23

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1           4.51.   In answering paragraph 4.51 of Plaintiff’s complaint, Defendants admit in the

2    warrant affidavit, Detective Olmstead stated that the surveillance video of Plaintiff “matched the

3    description provided by Newell.” Defendants make no response to the remainder of the

4    paragraph as the allegations appear to contain only legal conclusions for which no response is

5    required. However, to the extent factual allegations are intended or legal conclusions contrary to

6    applicable law are alleged, they are hereby denied.

7           4.52.   In answering paragraph 4.52 of Plaintiff’s complaint, Defendants deny.

8           4.53.   In answering paragraph 4.53 of Plaintiff’s complaint, Defendants admit that in the

9    warrant affidavit, Detective Olmstead stated that “[s]till photographs of the video depicting the

10   possible suspect were shown to Meyer and Newell separately. Both agreed that the still

11   photographs appeared to be the same person who shot Love.” Defendants admit the statement

12   pertaining to Meyer was in error, because Meyer was not shown the photographs. Defendants

13   make no response to the remainder of the paragraph as the allegations appear to contain only

14   legal conclusions for which no response is required. However, to the extent factual allegations

15   are intended or legal conclusions contrary to applicable law are alleged, they are hereby denied.

16          4.54.   In answering paragraph 4.54 of Plaintiff’s complaint, Defendants admit that the

17   affidavit did not include the fact that Meyer and Newell had been shown a photographic

18   montage. Defendants deny these omissions were misleading. Defendants make no response to

19   the remainder of the paragraph as the allegations appear to contain only legal conclusions for

20   which no response is required. However, to the extent factual allegations are intended or legal

21   conclusions contrary to applicable law are alleged, they are hereby denied.

22          4.55.   In answering paragraph 4.55 of Plaintiff’s complaint, Defendants admit in the

23   warrant affidavit, Detective Olmstead stated that Daniela Cuadra and Abelina Kidane told police

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1    that about 20 minutes after the shooting, “Wheeler called to inquire how she was doing and

2    asked numerous questions about the happenings at the Motel 6. Cuadra thought it

3    strange…Wheeler continued to call Cuadra, encouraging her to leave the motel and asked a lot of

4    further questions regarding police activity.” Defendants deny this statement is false and

5    misleading. Defendants deny that neither woman was a reliable witness. Defendants are without

6    sufficient information as to all phone records, and therefore, deny the same.

7           4.56.   In answering paragraph 4.56 of Plaintiff’s complaint, Defendants admit in the

8    warrant affidavit, Detective Olmstead stated that Plaintiff’s phone records “revealed multiple

9    instances of phone activity by [his] number utilizing cellular towers in close proximity to the

10   Motel 6, just prior to the murder.” Defendants deny the statement was false or misleading, and

11   any remaining allegations.

12          4.57.   In answering paragraph 4.57 of Plaintiff’s complaint, Defendants admit in the

13   warrant affidavit, Detective Olmstead stated that “[a]t the scene of the homicide on 8/31/16,

14   witness Newell and others described a brown leather backpack.” Defendants admit this

15   statement was made in error because only Newell described the brown leather backpack,

16   although another witness described a backpack. Defendants make no response to the remainder

17   of the paragraph as the allegations appear to contain only legal conclusions for which no

18   response is required. However, to the extent factual allegations are intended or legal conclusions

19   contrary to applicable law are alleged, they are hereby denied.

20          4.58.   In answering paragraph 4.58 of Plaintiff’s complaint, Defendants make no

21   response as the allegations appear to contain only legal conclusions for which no response is

22   required. However, to the extent factual allegations are intended or legal conclusions contrary to

23   applicable law are alleged, they are hereby denied.

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                                                                         CIVIL DIVISION, Litigation Section
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1           4.59.   In answering paragraph 4.59 of Plaintiff’s complaint, Defendants deny.

2           4.60.   In answering paragraph 4.60 of Plaintiff’s complaint, Defendants are without

3    sufficient information to determine the truth or falsity of the remaining allegations contained

4    therein, and, therefore, deny the same.

5           4.61.   In answering paragraph 4.61 of Plaintiff’s complaint, Defendants admit.

6           4.62.   In answering paragraph 4.62 of Plaintiff’s complaint, Defendants admit.

7           4.63.   In answering paragraph 4.63 of Plaintiff’s complaint, Defendants deny that the

8    probable cause certificate contained false or misleading statements. Defendants deny that false

9    or misleading statements or material omissions were made knowingly and with reckless

10   disregard for the truth and for Plaintiff’s constitutional rights. To the extent factual allegations

11   are intended or legal conclusions contrary to applicable law are alleged, they are hereby denied.

12          4.64.   In answering paragraph 4.64 of Plaintiff’s complaint, Defendants admit in the

13   probable cause certification, Detective Broggi wrote that eyewitness Meyer reported the

14   argument began “when a black male subject, whom he believed was shorter, but slender with

15   dreadlocks threw a rock at their window. This subject had done the same thing to them while

16   they were at the motel the week prior.” Defendants deny the remainder of this paragraph.

17          4.65.   In answering paragraph 4.65 of Plaintiff’s complaint, Defendants admit in the

18   probable cause certificate, Detective Broggi wrote that eyewitness Newell said “a black male,

19   about 6-0 with a skinny build, had been throwing rocks at the room [Newell] was sharing with

20   his coworkers while yelling, ‘crackers’. Newell further described this male as wearing dark

21   clothing, a baseball cap, and a brown suede backpack.” Defendants deny the remainder of this

22   paragraph.

23

     KING COUNTY DEFENDANTS’ ANSWER TO COMPLAINT                           Daniel T. Satterberg, Prosecuting Attorney
                                                                           CIVIL DIVISION, Litigation Section
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1           4.66.   In answering paragraph 4.66 of Plaintiff’s complaint, Defendants admit in the

2    probable cause certification, Detective Broggi wrote that eyewitness Newell said “he has seen

3    this subject at the motel numerous times” and wrote that that male “is depicted on Motel 6 video

4    on several dates, including the date of the murder.” Defendants deny the remainder of this

5    paragraph.

6           4.67.   In answering paragraph 4.67 of Plaintiff’s complaint, Defendants admit.

7           4.68.   In answering paragraph 4.68 of Plaintiff’s complaint, Defendants deny.

8           4.69.   In answering paragraph 4.69 of Plaintiff’s complaint, Defendants admit Detective

9    Broggi wrote a cursory summary of Newell’s description in a contemporaneous email on

10   September 7, 2016. Defendants deny the remainder of this paragraph.

11          4.70.   In answering paragraph 4.70 of Plaintiff’s complaint, Defendants deny.

12          4.71.   In answering paragraph 4.71 of Plaintiff’s complaint, Defendants deny.

13          4.72.   In answering paragraph 4.72 of Plaintiff’s complaint, Defendants admit that in the

14   probable cause certification, Detective Broggi wrote that Daniela Cuadra told police that shortly

15   after the shooting, Plaintiff “kept calling” Cuadra, “checking on her welfare and encouraging her

16   to leave the hotel.” Defendants deny the remainder of the paragraph.

17          4.73.   In answering paragraph 4.73 of Plaintiff’s complaint, Defendants admit that in the

18   probable cause certification, Detective Broggi wrote that the warrant for Plaintiff’s cell phone

19   records “showed that the phone was used before the time of the homicide in the area of this

20   incident as indicated by cell phone tower records.” Defendants deny the remainder of this

21   paragraph.

22

23

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                                                                         CIVIL DIVISION, Litigation Section
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1            4.74.   In answering paragraph 4.74 of Plaintiff’s complaint, Defendants admit that

2    Detective Broggi signed the Certification for Determination of Probable Cause filed in King

3    County Cause No. 16-1-05587-3. Defendants deny the remainder of this paragraph.

4            4.75.   In answering paragraph 4.75 of Plaintiff’s complaint, Defendants deny.

5            4.76.   In answering paragraph 4.76 of Plaintiff’s complaint, Defendants deny.

6            4.77.   In answering paragraph 4.77 of Plaintiff’s complaint, Defendants deny.

7            4.78.   In answering paragraph 4.78 of Plaintiff’s complaint, Defendants deny.

8            4.79.   In answering paragraph 4.79 of Plaintiff’s complaint, Defendants deny.

9            4.80.   In answering paragraph 4.80 of Plaintiff’s complaint, Defendants deny.

10                                       V.      CAUSES OF ACTION

11                                       FIRST CAUSE OF ACTION
                           (Federal Civil Rights Violations Under 42 U.S.C.§ 1983)
12
             Answering Plaintiff’s FIRST CAUSE OF ACTION portion of the complaint, re-allege their
13
     previous responses to Plaintiff's complaint as if fully set forth herein.
14
             Plaintiff’s causes of action 5.1-5.3 appear to contain legal conclusions for which no
15
     response is required. However, to the extent factual allegations are intended and/or legal
16
     conclusions contrary to applicable law are alleged they are hereby denied.
17

18                                      SECOND CAUSE OF ACTION
                                            (State Law Claim)
19
             Answering Plaintiff’s SECOND CAUSE OF ACTION portion of the complaint, Defendants
20
     re-allege their previous responses to Plaintiff's complaint as if fully set forth herein.
21
             Plaintiff’s cause of action 5.4 appears to contain legal conclusions for which no response
22
     is required. However, to the extent factual allegations are intended and/or legal conclusions
23
     contrary to applicable law are alleged they are hereby denied.
     KING COUNTY DEFENDANTS’ ANSWER TO COMPLAINT                              Daniel T. Satterberg, Prosecuting Attorney
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1                                            VI.    JURY DEMAND

2            6.1.    Defendants request that this matter be tried by a jury.

3                                     VII.     REQUEST FOR RELIEF

4            Answering paragraphs 7.1-7.5, Defendants deny that Plaintiff is entitled to any of the

5    relief sought in paragraphs 7.1-7.5 of their complaint. Defendants further deny that Plaintiff has

6    any valid claim for relief or that he is entitled to any of the relief sought in any portion of his

7    complaint. To the extent factual allegations are intended and/or legal conclusions contrary to

8    applicable law are alleged they are hereby denied. King Country denies any remaining

9    allegations contained in the Plaintiff’s complaint not expressly admitted herein.

10           BY WAY OF FURTHER ANSWER and AFFIRMATIVE DEFENSES, and without

11           admitting anything previously denied, Defendants allege as follows:

12           1.      Plaintiff has failed to state a claim upon which relief may be granted.

13           2.      If Plaintiff suffered any damages, recovery therefore is barred by Plaintiff’s

14                   failure to mitigate damages.

15           3.      Plaintiff’s damages may have been proximately caused or contributed to by the

16                   negligence or fault of Plaintiff.

17           4.      The injuries and/or damages sustained by the Plaintiff, if any, were not the

18                   proximate cause of any action or omission by Defendants.

19           5.      Plaintiff’s injuries and/or damages, if any, arose from causes intervening and/or

20                   superseding any actions or inactions by Defendants.

21           6.      Plaintiff’s claims are barred by the applicable statute of limitations.

22           7.      Plaintiff has failed to state a claim pursuant to 42 U.S.C. § 1983.

23

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1           8.       Defendants at all times acted in good faith in the performance of duties and are

2                    therefore immune from suit and entitled to discretionary immunity for the matters

3                    alleged in the Plaintiff’s complaint.

4           9.       Plaintiff has failed to identify any custom or policy of King County causing him any

5                    injury.

6           10.      If the Plaintiff sustained any injury or damage, the same was the result of reasonable

7                    and required conduct of Defendants under the circumstances and was excusable and

8                    justifiable in connection with the detention.

9           11.      Defendants assert the defense of qualified immunity.

10          12.      Defendants assert collateral estoppel.

11          Defendants reserve the right to amend this answer, including these affirmative defenses,

12   if and when additional facts are discovered which support such amendments.

13

14       COUNTERCLAIMS BY DETECTIVE ELEANOR BROGGI AND DETECTIVE

15                                       MATTHEW OLMSTEAD

16      Detective Eleanor Broggi and Detective Matthew Olmstead assert the following

17   counterclaim:

18                                             I.    PARTIES

19          1. Detective Eleanor Broggi is an individual who resides in the Western District of

20                Washington.

21          2. Detective Matthew Olmstead is an individual who resides in the Western District of

22                Washington.

23

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1                                II.    JURISDICTION AND VENUE

2         3. This Court has discretion to exercise supplemental jurisdiction over this state law

3            claim.

4         4. Venue is proper in the Western District of Washington in Seattle.

5                                III.   FACTUAL ALLEGATIONS

6         5. Detective Eleanor Broggi and Detective Matthew Olmstead are deputies of the King

7            County Sheriff’s Office.

8         6. On August 31, 2016, at approximately 9:55 p.m., Justin Love was shot and killed in

9            the parking lot of the Motel 6 located at 18900 47th Avenue South, SeaTac,

10           Washington. John Killarzoac was shot when a bullet penetrated the wall of the Motel

11           6 and struck him.

12        7. Members of the King County Sheriff’s Office, including Detective Broggi and

13           Detective Olmstead, investigated the shooting of Love and Killarzoac.

14        8. On August 31, 2016, members of the King County Sheriff’s Office identified three

15           individuals who were in the parking lot and witnessed the shooting: William Newell,

16           Michael Meyer and Brian Falgout.

17        9. All eyewitnesses to the shooting described the shooter as a black male. The

18           eyewitnesses gave differing clothing and hair descriptions.

19        10. All eyewitnesses to the shooting described the shooter as standing outside of the

20           fence at the time of the shooting. Shell casings at the scene corroborated that the

21           shooter was standing outside the fence at the time of the shooting.

22        11. Of the eyewitnesses, only Newell and Meyer interacted with the shooter.

23

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1         12. Of the eyewitnesses, Newell had the most interaction with the shooter. Newell

2            reported to members of the King County Sheriff’s Office that he and Love had argued

3            with a person standing in the parking lot from their motel room window. Newell

4            reported that he and Love exited the motel to the parking lot and continued to argue

5            with the same person, who had climbed the fence that separated the motel parking lot

6            from the area behind the parking lot.

7         13. Newell told members of the King County Sheriff’s Office that the shooter was a black

8            male carrying a brown suede backpack and that he had crossed the parking lot and

9            climbed over the fence immediately prior to shooting Love.

10        14. On August 31, 2016, shortly after the shooting, Jessica Hale told Deputy William

11           Harris that she saw a black male wearing a grey hoodie and a backpack on the other

12           side of the fence at the time of the shooting. Hale said she saw this person fire two

13           shots from a gun.

14        15. On September 1, 2016, members of the King County Sheriff’s Office administered a

15           polygraph examination to Newell and Meyer. The polygraph examinations indicated

16           neither of the men were being deceptive.

17        16. Video surveillance gathered by members of the King County Sheriff’s Office showed

18           a black male carrying a brown backpack and exiting the motel at approximately 9:50

19           p.m. The video showed the male crossing the parking lot and climbing over the fence

20           near where Love was shot on August 31, 2016.

21        17. Video surveillance obtained by members of the King County Sheriff’s Office showed

22           that near the time of the shooting no other individual crossed the parking lot and

23           climbed over the fence where Love was shot.

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1         18. On or about September 14, 2016, members of the King County Sheriff’s Office

2            identified Abelina Kidane and Daniela Cuadra as residents of the Motel 6 on August

3            31, 2016. When located and questioned, Kidane and Cuadra stated that Rodney

4            Wheeler left their motel room carrying a brown leather backpack at approximately

5            9:50 p.m. on August 31, 2016. Cuadra provided cell phone numbers for Wheeler,

6            including (253) 258-7240.

7         19. Cuadra identified Wheeler when shown still shots of surveillance video from the

8            Motel 6 of a black male at the motel at approximately at 9:50 p.m. on August 31,

9            2016.

10        20. Detective Olmstead obtained a search warrant for cell phone records of the phone

11           numbers provided by Cuadra. The records obtained for (253) 258-7240 showed that

12           the phone was in the vicinity of the Motel 6 at 9:55 p.m. on August 31, 2016. The

13           records showed that the phone number was registered to Rosemary McClam.

14           Rosemary McClam is the mother of Lavinia McClam. Lavinia McClam lived with

15           Wheeler in August, 2016.

16        21. Wheeler was at the Motel 6 on August 31, 2016. Wheeler is the person seen on

17           surveillance video crossing the parking lot and climbing the fence carrying a brown

18           leather backpack at approximately 9:50 p.m. on August 31, 2016.

19        22. As of August 2016, Wheeler had multiple prior felony convictions, including prior

20           convictions for unlawful possession of a firearm.

21        23. Based on the information known to Detective Broggi and Detective Olmstead on

22           September 16, 2016, there was probable cause to believe that Rodney Wheeler was

23

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1               involved in criminal activity and that evidence of the criminal activity could be found

2               in the cell phone records.

3           24. Based on the information known to Detective Broggi and Detective Olmstead on

4               October 4, 2016, there was probable cause to believe that Rodney Wheeler committed

5               murder in the second degree, assault in the second degree and unlawful possession of

6               a firearm in the second degree on August 31, 2016, and that evidence of the criminal

7               activity could be found at his residence.

8           25. Detective Broggi and Detective Olmstead provided all material evidence from the

9               investigation of Rodney Wheeler to the King County Prosecuting Attorney’s Office.

10          26. On October 5, 2016, the King County Prosecuting Attorney’s Office charged Rodney

11              Wheeler with the crimes of murder in the second degree, assault in the second degree

12              and unlawful possession of a firearm in the second degree.

13          27. Wheeler has instituted the present action against Detective Broggi and Detective

14              Olmstead with knowledge that the allegations therein are false, unfounded, malicious

15              and without probable cause for the filing of this action, and/or this action was filed as

16              part of a conspiracy to misuse the judicial process by filing an action known to be

17              false and unwarranted.

18                   IV.     COUNTERCLAIM – MALICIOUS PROSECUTION

19          Rodney Wheeler’s lawsuit constitutes malicious prosecution against a law enforcement

20   officer in violation of RCW 4.24.350.

21                                       V.     RELIEF SOUGHT

22          Detective Eleanor Broggi and Detective Matthew Olmstead seek the following relief:

23

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1           28. An award of reasonable attorney’s fees and costs in defending against this action

2               pursuant to RCW 4.24.350(2).

3           29. Liquidated damages as provided by RCW 4.24.350(2).

4           30. A judgment against Rodney Wheeler for malicious prosecution pursuant to RCW

5               4.24.350.

6           WHEREFORE, Defendants pray that the Plaintiff take nothing by his complaint, that the

7    complaint be dismissed with prejudice and that Defendants be awarded liquidated damages and

8    costs and reasonable attorneys’ fees incurred herein and for such other and further relief as the

9    Court deems just and equitable.

10

11          DATED this 18th day of May, 2020.

12                                                 DANIEL T. SATTERBERG
                                                   King County Prosecuting Attorney
13
                                                   By: s/ Ann M. Summers             .
14                                                 ANN M. SUMMERS, WSBA #21509
                                                   Senior Deputy Prosecuting Attorney
15
                                                   By: s/ Allyson K. Zerba            .
16                                                 ALLYSON K. ZERBA, WSBA # 29369
                                                   Senior Deputy Prosecuting Attorney
17
                                                   King County Prosecuting Attorney
18                                                 500 Fourth Avenue, Suite 900
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19                                                 (206) 296-8820 Fax (206) 296-8819
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20                                                 Email: ann.summers@kingcounty.gov
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22

23

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1                             CERTIFICATE OF FILING AND SERVICE

2           I hereby certify that on May 18, 2020, I electronically filed the foregoing document with

3    the Clerk of the Court using CM/ECF E-filing System which will send notification of such filing

4    to the following CM/ECF participant:

5
                                          Tiffany M. Cartwright
6                                            Timothy K. Ford
                                      MacDonald Hoague & Bayless
7                                     705 Second Avenue, Suite 1500
                                            Seattle, WA 98104
8

9           I declare under penalty of perjury under the laws of the State of Washington that the

10   foregoing is true and correct.

11          SIGNED this 18th day of May, 2020.

12
                                                                                                 .
13                                               JENNIFER REVAK
                                                 Legal Secretary
14                                               King County Prosecuting Attorney's Office


                                                    JREVA
15                                                                    Digitally signed
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